 Case: 1:19-cr-00869 Document #: 183 Filed: 06/13/22 Page 1 of 1 PageID #:3320

                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:19−cr−00869
                                                       Honorable Robert W. Gettleman
Thomas Osadzinski
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, June 13, 2022:


       MINUTE entry before the Honorable Robert W. Gettleman as to Thomas
Osadzinski: At the court's request, and by agreement, in−court oral argument on
defendant's post−trial motions set for 7/28/2022 is stricken and reset to 8/16/2022 at 11:00
a.m. The hearing will be held in Courtroom 1703 unless further ordered. Mailed notice
(cn).




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
